         Case 3:07-cr-00024-RLY-CMM                                Document 618               Filed 01/06/12               Page 1 of 2 PageID #:
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             A CERTIFIED TRUE COPY
             Laura A. Briggs, Clerk
             U.S. District Court
             Southern District of Indiana

             By
                                      Deputy Clerk




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Case 3:07-cr-00024-RLY-CMM           Document 618       Filed 01/06/12      Page 2 of 2 PageID #:
                                           4668



 Addendum to Order Pursuant to 18 U.S.C. § 3582(c)

           3:07CR00024-005
 Cause No. _____________________

           Sam Cook
 Defendant _____________________


 As directed by 18 U.S.C. ' 3582(c)(2), the Court has considered the relevant factors in U.S.S.G. '
 1B1.10(b) and 18 U.S.C. ' 3553(a), and determined a sentence reduction is not appropriate for the
 following reason(s):

 _____ 1) The defendant is not eligible for a reduction because the amendments listed in
       subsection (c) of U.S.S.G. ' 1B1.10 are not applicable to the defendant.

   ✔
 _____ 2) The amendment is listed in subsection (c) of U.S.S.G. ' 1B1.10 and is applicable to the
       defendant, but it does not have the effect of lowering the defendant=s applicable guideline
       range (e.g. a statutory mandatory minimum term of imprisonment, binding plea agreement,
       career offender status).

 _____ 3) The defendant is eligible for a reduction under this amendment, but the Court has
       determined such a reduction is not appropriate because of the nature and seriousness of the
       danger to any person or the community that may be posed by a reduction in sentence.
       (Application Note 1(B) of U.S.S.G. ' 1B1.10.)

 _____ 4) The defendant is eligible for a reduction under this amendment. However, the Court
       has determined the post-sentencing conduct demonstrates the defendant may pose a danger
       to any person or the community by a reduction in sentence. (Application Note 1(B) of
       U.S.S.G. ' 1B1.10.)

   ✔
 _____ 5) Other (explain)

        ________________________________________________________________________
        The Base Offense Level was determined to be 28, based on 133 grams of cocaine base.
        This is the same as applied at the time of the original sentencing.
        ________________________________________________________________________
        Thus, the amendment did not have the effect of lowering the defendant's base offense
        ________________________________________________________________________

        level.
        ________________________________________________________________________
